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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    WASHINGTON PRIME GROUP INC., et al.,1                          )   Case No. 21-31948 (MI)
                                                                   )
                             Debtors.                              )   (Jointly Administered)
                                                                   )   RE: Docket No. 174

                                      CERTIFICATE OF COUNSEL
             Pursuant to the Procedures for Complex Chapter 11 Cases in the Southern District of Texas

(the “Complex Case Procedures”), the undersigned counsel for the above-captioned debtors

(collectively, the “Debtors”) certifies as follows:

             1.     On June 25, 2021, the Debtors filed the Debtors’ Motion for Entry of an Order

(I) Authorizing the Retention and Compensation of Certain Professionals Utilized in the Ordinary

Course of Business and (II) Granting Related Relief [Docket No. 174] (the “OCP Motion”).

             2.     The deadline to object to the relief requested in the OCP Motion was July 16, 2021

(the “Objection Deadline”). No objections or responses to OCP Motion were filed on the docket

on or before the Objection Deadline. Counsel for the Debtors received comments on the OCP

Motion from the United States Trustee, which were incorporated by the Debtors and are reflected

in the attached revised proposed order.

             3.     Counsel for the Debtors did not receive any other informal or formal responses or

objections to the OCP Motion. The undersigned certifies that the attached proposed order resolves




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      A complete list of each of the Debtors in these chapter 11 cases and the last four digits of their federal tax
      identification numbers may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.primeclerk/washingtonprime. The Debtors’ service address in these chapter 11 cases is 180 East
      Broad Street, Columbus, Ohio 43215.
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all known responses to the relief requested in the OCP Motion. A redline reflecting changes to the

proposed order is attached.

        4.     The Debtors request that the Court enter the attached proposed order its earliest

convenience.

Houston, Texas
July 19, 2021

/s/ Matthew D. Cavenaugh
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Proposed Co-Counsel to the Debtors
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                                                     Proposed Co-Counsel to the Debtors
                                                     and Debtors in Possession




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                                     Certificate of Service

        I certify that on July 19, 2021, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




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